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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION

  HOWARD COHAN,

         Plaintiff,
                                                         CASE NO.: 0:20-cv-61759-AHS
  vs.


  DENNY'S, INC.
  a Florida Profit Corporation
  d/b/a DENNY'S #485

        Defendant(s).
  ____________________________________/
               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         The Plaintiff, HOWARD COHAN and the Defendant, DENNY'S, INC., a Florida Profit

  Corporation, d/b/a DENNY'S #485, (the Parties) hereby stipulate that (1) the Parties have settled

  this action; (2) Plaintiff voluntarily dismisses this action with prejudice against DENNY'S, INC.,

  a Florida Profit Corporation, d/b/a DENNY'S #485; (3) the Parties shall bear their own costs and

  fees except as provided for in the Parties’ Settlement Agreement; and (4) the Parties condition the

  stipulation upon this Court entering an order retaining jurisdiction to enforce the terms of the

  Parties’ Settlement Agreement. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th

  Cir. 2012).

         RESPECTFULLY SUBMITTED November 20, 2020.

   By: /s/ Gregory S. Sconzo                          By: /s/ Merry E. Lindberg
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   Attorney for Plaintiff
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 20, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record in this action via transmission of Notices of Electronic

  Filing generated by CM/ECF.

                                                        _ /s/ Gregory S. Sconzo
                                                        Gregory S. Sconzo, Esq.




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